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                          UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA

  DCCC et al,
                                           Plaintiffs,

  vs.                                                        Case Number: 20-CV-211-JED-JFJ
                                                             Proceeding: Prelim. Inj.hearing/Perm. Inj. trial
  Paul Ziriax et al,                                         Date: 8-26-2020
                                         Defendants.         Court Time: 10:00 a.m.
                                                             Actual Court Time: 10:00 a.m. to 12:11 p.m.
                                                                                  1:00 p.m. to 2:51 p.m.
                                                                                  3:05 p.m. to 4:18 p.m.
                                                                                  4:30 p.m. to 5:25 p.m.

                                                MINUTE SHEET

   John E. Dowdell, Chief U.S. District Judge        L. Lyles, Deputy Clerk       Terri Beeler, Reporter

  Counsel for Plaintiff: John Devaney, Will Conley, Ariel Glickman (all via video), Frank Frasier
  (in person)
  Counsel for Defendant: Mithun Mansinghani, Bryan Cleveland, Thomas Schneider (all in
  person)
  Minutes: This comes on for a consolidated hearing on the Motion for Preliminary Injunction
  (Doc. 47) and trial on the merits for a potential permanent injunction. Three witnesses are sworn
  and testimony is given. Witness testimony was given via video conference with the agreement
  of the parties. Arguments are heard and the Court takes the matter under advisement. The
  parties shall submit proposed findings and conclusions, in both PDF and Word format, to the
  Courtroom Deputy Lisa Lyles, by August 31, 2020.




  Minute Sheet General                                                                              CV-01 (12/04)
